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                 EXHIBIT H
                Case 1:22-cv-08969-PAE                                    Document 63-8                           Filed 11/14/23                     Page 2 of 3


CERTIFICATE OF COPYRIGHT REGISTRATION
                                                                                                                                                                                       FORM P
                                                                                                                                                                UNITED STATES COPYRIGHT OFFIC

                                      This certificate, issued under the seal of the Copyright                                                    REGISTRATION NUMBER
                                      Office in accordance with the provisions of section 410(a)
                                      of title 17, United States Code, attests that copyright reg-
                                      istration has been made for the work identified below. The                                                            fA              417 162
                                      information in this certificate has been made a part of the
                                      Copyright Office records.                                                                                             I~A
                                                                                                                                                            \       .                            PAU


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                                                                                  REGISTER OF COPYRIGHTS                                               (Month)                       (Day)                  (YeAl)
        OFFICIAL SEAL

                 DO NOT WRITE ABOVE THIS LINE. IF YOU NEED MORE SPACE, USE CONTINUATION                                                           SHEET (FORM PA/CON)
                  TITLE OF THIS WORK:                                                                                                             NATURE OF THIS WORK: (See instructions)

                                                                BATMAN                                                                                 motion picture
      TIt••

                  PREVIOUS OR ALTERNATIVE TITLES:




                        IMPORTANT:              Under the law. the "author" of a "work made for hire" is generally the employer. not the employee (see Instructions). If any part of thISwork


     ®
   Authorial
                          NAME OF AUTHOR:
                                                was "made for hire" check "Yes" in the space provided. give the employer (or other person for whom the work was prepared) as "Author"
                                                of that part.and leave the space for dates blank.
                                                            WARNER BROS. INC.                                                                                           DATESOF BIRTHAND DEATH:
                                                                                                                                                                         Born                        Died            .
                                Was this author's contribution to the work a "work made for hire',            Yes.XX.        No         .                                            (Y_,                    (Ye.)
                          AUTHOR'S NATIONALITY OR DOMICILE:                                                                                         WAS THIS AUTHOR'SCONTRl,PunON TO
                                                                                                                                                    THE WORK:
                    1           Citizen of. '(~~~co',,;,j';";"""""                }   or { Domiciled in ....       iN';';'~·oic~~~i.y;········              Anonymous?               Yes         , No       .
                                                                                                                                                            Pseudonymous?            Yes.. . . . . No. '" ..
                          AUTHOR OF: (Brieflydescribe nature of this author's contributton)
                                                                                                                                                    If the answer to either of these questions is
                                                                                                                                                    "Yes," see detailed instructions attached.
                          NAME OF AUTHOR:                                                                                                                               DATESOF BIRTHAND DEATH:
                                                                                                                                                                         Bom                         Dted .. ·           .
                                Was this authors contribution to the work a "work made for hire',             Yes......      No......                                                (Year,                  (Y_.
                         AUTHOR'S NATIONALITY OR DOMICILE:                                                                                          WAS THIS AUTHOR'S CONTRIBUTIONTO
                                                                                                                                                    THE WORK:
                    2          Citizen of . {N~';'.·';t
                                                    coo;,i';";.. . . . . . . ..   }   or { Domiciled in           iN';';'~~ci ~~~i.yi         .             Anonymous?               yes.... ..       No......       ~..
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                          AUTHOR OF: (Brieflydescribe nature of this author's contribution)
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                                                                                                                                                    "Yes:' see detailed instructions attached.
                          NAME OF AUTHOR:                                                                                                                               DATESOF BIRTHAND DEATH:
                                                                                                                                                                         Born            .'"         Died                .
                               Was this authors contribution to the work a "work made for hire',              yes ....       No.....                                                 (Year,                  (Y_'
                          AUTHOR'S NATIONALITY OR DOMICILE:                                                                                         WAS THIS AUTHOR'S CONTRIBUTIONTO
                    3                                                                                                                               THE WORK:
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                          AUTH
                                                                                                                                                    If the answer to either of these questions is
                                                                                                                                                    "Yes." see detailed instTuctions attached.

                  YEAR IN WHICH CREATION OF THIS WORK WAS COMPLETED:                                               DATE AND NATION OF FIRST PUBLICATION:
                                                                                                                    Date..      .June .19, 1989.
                                                                                                                                                  (Month,               (Day,                    IYear.
   Cre_lon                                             Year .... ~~.~~ ..                                           Nation ..           USA             . . (N,;.;.~;'t Couniryj .
     and
  Publication                         (This information must be given in all cases.)                                            (Complete this block ONLY if this work has been published}

                  NAME(S) AND ADDRESS(ES)                   OF COPYRIGHT CLAIMANT(S):


  C'almant(sl                                  WARNER BROS. INC.
                                               4000 Warner Blvd.
                                               Burbank, CA 91522
                   TRANSFER: (If the copyright clairnantts) named here in space 4 are different from the author(s} named in space 2. give a brief statement of how the
                   clermantts] obtained ownership of the copyright.}



 • Complete all applicable spaces (numbers 5·9) on the reverse side a/this page                                                                                                        DO NOT WRITE HERE
 • Follow deuuted instructions attached    • Sign the form at line 8
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             Case 1:22-cv-08969-PAE                                                   Document 63-8                               Filed 11/14/23                              Page 3 of 3

                                                                                                              EXAMINED BY: . .               '"       APPUCATION          RECEIVED:

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            PA                417 162                                                                              DEPOSIT ACCOUNT                    REMITTANCE          NUMBER AND DATE:
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                                                                                                                     FUNDS USED:

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             DO NOT WRITE ABOVE THIS LINE. IF YOU NEED ADDITIONALSPACE, USE CONTINUATION SHEET (FORM PAl CON)
 PREVIOUS REGISTRATION:

      • Has registration for this work, or for an earlier version of this work, already been made in the Copyright Office? Yes                                                                   No . A~                    .
                                                                                                                                                                                                                                      PrevkJu
                                                                                                                                                                                                                                      R.glstrl
      • Ifyour answer is "Yes," why is another registration being sought? (Check appropriate box)                                                                                                                                         t'on

                 o This is the first published edition of a work previously registered In unpublished form.
                 o This is the first application submitted by this author as copyright claimant.
                 o This is a changed version of the work, as shown by line 6 of the application.
       • Ifyour answer is "Yes," give: Previous Registration Number                                                                               Year of Registratlon                                                      .



 COMPILATIONOR DERIVATIVEWORK: (See Instructions)                                                                                                                                                                                       ®
            PREEXISTING MATERIAL: (Identify any preexisting work or works that the work is based on or incorporates.)                                                                                                                      6
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       ... MATERIAL ADDED TO THIS WORK; (Give a brief. general statement of the material that has been added to this work and in which copyright
            is claimed.)

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 DEPOSIT ACCOUNT: (If the registration fee is to be charged to a                                                   CORRESPONDENCE: (Give name and address to which corre-
 Deposit Account established in the Copyright Office. give name and                                                spondence about this application should be sent.)
 number of Account.)



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CERTIFICATION:               *   I.the undersigned, hereby certify that I am the: (Check one)
  o author a other copynght claimant a owner of exclusive
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                                                                                                                                             BROS. INC.
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of the work identified in this application and that the statements made by'""f In this application ar~ correct to the best of my knowledge.                                                                                         CertifIC81

                                 ~                         Handwritten signature: (X) .               C :'J...\'.':-
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